         Case:18-10276-KHT Doc#:21 Filed:03/29/18                    Entered:03/29/18 12:45:58 Page1 of 9



 Fill in this information to identify your case

 UNITED STATES BANKRUPTCY COURT DISTRICT OF COLORADO
 Debtor 1:      RONALD         LEWIS             CAIN            Case #:    18-10276-KHT
                First Name       Middle Name         Last Name


 Debtor 2:                                                       Chapter:   13
                First Name       Middle Name         Last Name


Local Bankruptcy Form 3015-1.1
AMENDED Chapter 13 Plan
Including Valuation of Collateral and Classification of Claims

Complete applicable sections. This AMENDED chapter 13 plan dated March 29, 2018 supersedes all previously filed
plans.

 Part 1 Notices

1.1.      To Creditors: THIS PLAN MAY MODIFY YOUR RIGHTS. If you oppose any provision of the plan you must file a
          written objection with the Court by the deadline fixed by the Court. (Applicable deadlines given by separate
          notice.) If you do not file a timely objection, you will be deemed to have accepted the terms of the plan, which may
          be confirmed without further notice or hearing. Creditors must file timely proofs of claim in order to receive the
          applicable payments.

1.2.      Nonstandard Provisions
           ☐ This plan contains nonstandard provisions set out in Part 12 of the plan

1.3.      Motions for Valuation of Collateral and Determination of Secured Status under 11 U.S.C. § 506
           ☐ This plan contains a motion for valuation of personal property collateral and determination of secured status
               under 11 U.S.C. § 506. Additional details are provided in Part 7.4 of this plan.
           ☐ The debtor is requesting a valuation of real property collateral and determination of secured status under 11
               U.S.C. § 506 by separate motion. Additional details are provided in Parts 7.3 and/or Part 7.4 of this plan.
               Status of motion:
               _____________________________________________________________________________________
               [list status of motion here (i.e. date filed, date granted, to be filed contemporaneously, etc.)]

1.4.    Motions for Lien Avoidance 11 U.S.C. § 522(f)
         ☐ The debtor is requesting avoidance of a judicial lien or nonpossessory, non-purchase-money security
              interest under 11 U.S.C. § 522(f) by separate motion. Additional details are provided in Part 10.4 of this
              plan. Status of motion:
              _____________________________________________________________________________________
              [list status of motion here (i.e., date filed, date granted, to be filed contemporaneously, etc.)]


 Part 2 Background Information

2.1       Prior bankruptcies pending within one year of the petition date for this case:

            Case number and chapter             Discharge or dismissal/conversion                          Date


           17-21248-KHT                  Dismissed                                           12/19/2017




L.B.F. 3015-1.1 (12/17)                                                                                              Page 1
         Case:18-10276-KHT Doc#:21 Filed:03/29/18                      Entered:03/29/18 12:45:58 Page2 of 9


2.2       Discharge: The debtor:

           ☒     is eligible for a discharge

           OR

           ☐     is not eligible for a discharge and is not seeking a discharge.


2.3       Domicile & Exemptions:

          Prior states of domicile:


           within 730 days:     Colorado

           within 910 days:     Colorado


          The debtor is claiming exemptions available in the ☒ state of Colorado or ☐ federal exemptions.

2.4       Domestic Support: The debtor owes or anticipates owing a Domestic Support Obligation as defined in 11 U.S.C.
          § 101(14A). Notice shall be provided to these parties in interest: n/a

          A. Spouse/Parent:
             _____________________________________________________________________________________
             [identify]
          B. Government:
             _____________________________________________________________________________________
             [identify]
          C. Assignee or other:
             _____________________________________________________________________________________
             [identify]
          D. The debtor ☐ has provided the trustee with the address and phone number of the Domestic Support Obligation
             recipient, or ☐ cannot provide the address or phone number because it/they is/are not available.
          E. The current monthly income of the debtor, as reported on Official form 122C-1 or 122C-2, as applicable, is ☒
             below, ☐ equal to, or ☐ above the applicable median income               .

 Part 3 Plan Analysis


3.1       Total Debt Provided for under the Plan and Administrative Expenses

           A.    Total Priority Claims (Class One)
                 1. Unpaid attorney’s fees                                                                      $2,880.00
                    (Total attorney’s fees are estimated to be $5,170.00 of which $2,190.00 has been prepaid)
                 2. Unpaid attorney’s costs (estimated)                                                         $200.00
                 3. Total taxes
                     (Federal $1,873.47; State $940.00; Other $_____ )                                          $2,813.47
           B.    Total payments to cure defaults (Class Two)                                                    $36,671.70
           C.    Total payments on secured claims (Class Three)                                                 $0.00
           D.    Total payments on unsecured claims (Class Four)                                                $526.83
           E.    Sub-Total                                                                                      $43,092.00
           F.    Total trustee’s compensation (10%) of debtor’s payments)                                       $4,788.00
           G.    Total debt and administrative expenses                                                         $47,880.00



L.B.F. 3015-1.1 (12/17)                                                                                            Page 2
         Case:18-10276-KHT Doc#:21 Filed:03/29/18                    Entered:03/29/18 12:45:58 Page3 of 9


3.2       Reconciliation with Chapter 7

      A. The net property values set forth below are liquidation values rather than replacement values. The
         replacement values may appear in Class Three of the plan.
      B. Assets available to Class Four unsecured creditors if Chapter 7 filed:
         1. Value of debtor’s interest in non-exempt property                                                     $4,513.25

                   Property                 Value          Less       Less         X          Less          = Net
                                                         costs of     liens     Debtor’s   exemptions       value
                                                           sale                 interest
    Cash & bank accounts                  $203.00      n/a        n/a          100%  75%            $50.75
    Non-exempt vehicles                   $5,250.00    $787.50    n/a          100%  n/a            $4,462.50
    ’15 tax refunds (already              $0.00        n/a        n/a          100%  n/a            $0.00
    figured into est. priority liability)
        2. Plus: value of property recoverable under avoiding powers                                       $0.00
        3. Less: estimated Chapter 7 administrative expenses                                               $1,178.31
        4. Less: amounts payable to priority creditors                                                     $3,580.00
        5. Equals: estimated amount payable to Class Four creditors if Chapter 7 filed (if negative, enter
             zero)                                                                                         $521.47
   C. Estimated payment to Class Four unsecured creditors under the Chapter 13 Plan plus any funds
       recovered from “other property” described in Part 4.1.D below                                       $526.83


 Part 4 Properties and Future Earnings Subject to the Supervision and Control of the Trustee

4.1       Future Earnings: The debtor submits to the supervision and control of the trustee all or such portion of the
          debtor's future earnings or other future income as is necessary for the execution of the Plan, including:
          A. Future earnings which shall be paid to the trustee for a period of approximately 60 months, beginning
             February 15, 2018 as follows:
          B.
                   Number of payments                  Amount of payments                           Total
                             1                              $100.00                                $100.00
                             1                              $800.00                                $800.00
                            58                              $810.00                               46,980.00
                                     Total of monthly payments                                   $47,880.00

          C. Amounts for the payment of Class Five post-petition claims included in above: $ n/a
          D. Other property: Debtor will turn over or amend or modify to reconcile any refund from previous counsel.
4.2       Payments: The debtor agrees to make payments under the Plan as follows:
           ☐    Voluntary wage assignment to employer: Paid in the following manner: $_____ [amount] to be
                deducted __________________________ [time period, e.g., weekly, monthly, per pay period,
                etc.]. Employer’s name, address, telephone number: __________________________ [name,
                address, telephone number].

           OR

           ☒       Direct payment from debtor to trustee.

 Part 5 Class One - Claims Entitled to Priority Under 11 U.S.C. § 507

Unless other provision is made in paragraph 10.3, each creditor in Class One shall be paid in full in deferred cash
payments prior to the commencement of distributions to any other class (except that the payments to the trustee
shall be made by deduction from each payment made by the debtor to the trustee) as follows:

5.1      Allowed administrative expenses:
         A. Trustee's compensation (10% of amounts paid by debtor under this Plan)                            $4,788.00
         B. Attorney's Fees (estimated and subject to allowance)                                              $2,880.00

L.B.F. 3015-1.1 (12/17)                                                                                             Page 3
         Case:18-10276-KHT Doc#:21 Filed:03/29/18                               Entered:03/29/18 12:45:58 Page4 of 9


          C. Attorney's Costs (estimated and subject to allowance)                                                      $200.00

5.2       Other priority claims to be paid in the order of distribution provided by 11 U.S.C. § 507 [if none, indicate]:
          A. Domestic Support Obligations: A proof of claim must be timely filed in order for the trustee to distribute
             amounts provided by the plan.
                 1. Priority support arrearage: The debtor owes past due support to [name] in the total amount of $_____
                      [amount] that will be paid as follows:
                      ☐ Distributed by the trustee pursuant to the terms of the Plan; or
                      ☐ The debtor is making monthly payments via a wage order ☐ or directly ☐ (reflected on Schedule I or
                      J) in the amount of $_____ [amount] to _____________________________. Of that monthly
                      amount, $_____ [amount] is for current support payments and $_____ [amount] is to pay the
                      arrearage.
                 2. Other: For the duration of the plan, during the anniversary month of confirmation, the debtor shall file
                      with the Court and submit to the trustee an update of the required information regarding Domestic
                      Support Obligations and the status of required payments.
          B. Taxes
                 1. Federal taxes                                                                                $1,873.47
                 2. State taxes                                                                                  $940.00
             3. Other taxes:                                                                                     $
                 __________________________________________________________________________
                 [describe]
             4. Other Class One claims, if any:                                                                  $
                 __________________________________________________________________________
                 [describe]

    Part 6 Class Two – Defaults

6.1       Modification of Rights: If debtor is proposing to modify the rights of creditors in Class Two, debtor must
          specifically serve such creditor in the manner specified in Fed. R. Bankr. P. 9014 and 7004.

6.2       Class Two A [if none, indicate]: Claims set forth below are secured only by an interest in real property that is the
          debtor's principal residence located at 215 Saddle Drive, Idaho Springs, CO 80452. Defaults shall be cured and
          regular payments shall be made:

          ☐ None

          OR

        Creditor              Total default            Interest       Total amount to    No. of      Regular monthly      Date of first
                              amount to be               rate         cure arrearage    months to     payment to be        payment
                                 cured1                                                   cure       made directly to
                                                                                                         creditor
Bayview Loan                $36,671.70              n/a               $36,671.70        Unknown     $1,149.16             February
Servicing, LLC                                                                                                            1, 2018

6.3       Class Two B [if none, indicate]: Pursuant to 11 U.S.C. § 1322(b)(5), secured (other than claims secured only by
          an interest in real
          property that is the debtor's principal residence) or unsecured claims set forth below on which the last payment is
          due after the date on which the final payment under the Plan is due. Defaults shall be cured and regular payments
          shall be made:

          ☒ None

          OR



1
 The lesser of this amount or the amount specified in the Proof of Claim.
L.B.F. 3015-1.1 (12/17)                                                                                                       Page 4
         Case:18-10276-KHT Doc#:21 Filed:03/29/18                              Entered:03/29/18 12:45:58 Page5 of 9




             Creditor       Description         Total          Interest rate      Total     No. of       Regular      Date of first
                                 of            default                         amount to   months to     monthly       payment
                             collateral       amount to                           cure       cure      payment to
                                              be Cured2                        arrearage                be made
                                                                                                        directly to
                                                                                                         creditor



6.4       Class Two C [if none, indicate]: Executory contracts and unexpired leases are rejected, except the following,
          which are assumed:

          ☒ None

          OR

            Other party to          Property, if any,             Total amount to      No. of     Regular monthly     Date of first
              lease or               subject to the                 cure, if any      months to    payment to be       payment
              contract              contract or lease                                   cure      made directly to
                                                                                                      creditor




          A. In the event that debtor rejects the lease or contract, creditor shall file a proof of claim or amended proof of
             claim reflecting the rejection of the lease or contract within 30 days of the entry of the order confirming this
             plan, failing which the claim may be barred.

    Part 7 Class Three – All Other Allowed Secured Claims

Claims shall be divided into separate classes to which 11 U.S.C. § 506 shall or shall not apply as follows:

7.1       Modification of Rights: If debtor is proposing to modify the rights of creditors in Class Three, debtor must
          specifically serve such creditor in the manner specified in Fed. R. Bankr. P. 9014 and 7004.

7.2       Adequate Protection: If adequate protection payments are indicated, such payments will be made by the trustee
          to the creditors indicated above until such time that superior class creditors are paid in full. Any adequate
          protection payments made will be subtracted from the total amount payable. Unless otherwise provided, adequate
          protection payments will accrue from the date of filing but will not be made until the creditor has filed a timely proof
          of claim.

7.3       Secured claims subject to 11 U.S.C. § 506 (Real Property): In accordance with Fed. R. Bankr. P. 3012 and
          7004 and L.B.R. 3012-1, the debtor has filed and served a separate motion for valuation of collateral and
          determination of secured status under 11 U.S.C. § 506 as to the real property and claims listed in Part 1.3 of this
          plan and below. The plan is subject to the court’s order on the debtor’s motion. If the court grants the debtor’s
          motion, the creditor will have an unsecured claim in the amount of the debt as stated in any timely filed, allowed
          proof of claim, including such claims filed within thirty days from entry of an order determining secured status under
          Fed. R. Bankr. P. 3002(c)(1) and (3). The creditors listed in Part 1.3 and below shall retain the liens securing their
          claims until discharge under 11 U.S.C. § 1328, or, if the debtor is not eligible for a discharge, upon the debtor’s
          successful completion of all plan payments and the closing of the case.

          ☒ None



2
 The lesser of this amount or the amount specified in the Proof of Claim.
L.B.F. 3015-1.1 (12/17)                                                                                                   Page 5
         Case:18-10276-KHT Doc#:21 Filed:03/29/18                         Entered:03/29/18 12:45:58 Page6 of 9


          OR
                          Name of creditor                   Description of collateral              Proof of claim amount, if any
                                                           (pursuant to L.B.R. 3012-1)




7.4       Secured claims subject to 11 U.S.C. § 506 [if none, indicate]: The debtor moves the court, through this chapter
          13 plan, for a valuation of collateral and determination of secured status under 11 U.S.C. § 506 regarding the
          property and claims below. The creditors shall retain the liens securing their claims until discharge under 11
          U.S.C. § 1328 or payment in full under nonbankruptcy law.

          ☒ None

          OR

          A. The following creditors shall be paid the value of their interest in collateral. Any remaining portion of the
             allowed claim shall be treated as a general unsecured claim.

                 Creditor       Description of      Confirmation     Amount of       Interest rate        Adequate          Total
                                  collateral          value of        debt as                             protection       amount
                                                     collateral      scheduled                             payment         payable



          B. The following creditors shall be paid the remaining balance payable on the debt over the period required to pay
             the sum in full.

                 Creditor        Description of     Confirmation     Amount of      Interest rate        Adequate          Total
                                   collateral         value of        debt as                            protection       amount
                                                     collateral      scheduled                            payment         payable



7.5       Secured claims to which 11 U.S.C. § 506 shall not apply (personal property) [if none, indicate]: The
          following creditors shall retain the liens securing their claims, and they shall be paid the amount specified which
          represents the remaining balance payable on the debt over the period required to pay the sum in full:

          ☒ None

          OR

               Creditor            Description of          Amount of debt as        Interest rate        Adequate          Total
                                     collateral               scheduled                                  protection       amount
                                                                                                          payment         payable



7.6       Property being surrendered [if none, indicate]: The debtor surrenders the following property securing an
          allowed secured claim to the holder of such claim:

          ☒ None

          OR

                     Creditor                                 Property                              Anticipated fate of surrender



L.B.F. 3015-1.1 (12/17)                                                                                                     Page 6
          Case:18-10276-KHT Doc#:21 Filed:03/29/18                      Entered:03/29/18 12:45:58 Page7 of 9



7.7       Relief from Stay: Relief from the automatic stay to permit enforcement of the liens encumbering surrendered
          property shall be deemed granted by the Court at the time of confirmation of this Plan. With respect to property
          surrendered, no distribution on the creditor’s claim shall be made unless that creditor files a proof of claim or an
          amended proof of claim to take into account the surrender of the property.

 Part 8 Class Four – Allowed Unsecured Claims Not Otherwise Referred To in the Plan

8.1       Payment of Class Four Claims: Class Four Claims are provided for in an amount not less than the greater of:
          A. The amount necessary to meet the best interests of creditors pursuant to 11 U.S.C. § 1325(a)(4) as set forth in
             Part 3.2; or
          B. Total disposable income for the applicable commitment period defined by 11 U.S.C. § 1325(b)(1)-(4).

8.2       Disposable Income: The monthly disposable income of $0.00 has been calculated on Form 122C-1 or 122C-2, as
          applicable. Total disposable income is 0.00, which is the product of monthly disposable income of $0.00 times the
          applicable commitment period of 36 months.

8.3       Classification of Claims:
          A. ☒ Class Four claims are of one class and shall be paid a pro rata portion of all funds remaining after payment
             by the trustee of all prior classes;

               OR

          B. ☐ Class Four claims are divided into more than one class as follows:
             _____________________________________________________________________________________
             [describe].

8.4       Non-Dischargeable Claims: A timely filed claim, found by the Court to be non-dischargeable pursuant to 11
          U.S.C. § 523(a)(2), (4), or (6), will share pro-rata in the distribution to Class Four. Collection of the balance is
          stayed until the case is dismissed, converted to a Chapter 7 or discharge enters, unless ordered otherwise.

 Part 9     Class Five – Post-Petition Claims Allowed Under 11 U.S.C. § 1305 (if none indicate)

Post-petition claims allowed under 11 U.S.C. § 1305 shall be paid as follows:
_____________________________________________________________________________________ [describe].

OR

☒ None


 Part 10 Other Provisions

10.1      Direct Payments: Payment will be made directly to the creditor by the debtor on the following claims:

                          Creditor                       Collateral, if any                  Monthly payment       No. of months
                                                                                                 amount              to payoff
           NONE


10.2      Effective Date of Plan: The effective date of this Plan shall be the date of entry of the Order of Confirmation.

10.3      Order of Distribution:
          A. ☒ The amounts to be paid to the Class One creditors shall be paid in full, except that the chapter 13 trustee’s
             fee shall be paid up to, but not more than, the amount accrued on actual payments made to date. After
             payment of the Class One creditors, the amounts to be paid to cure the defaults of the Class Two A, Class
             Two B and Class Two C creditors shall be paid in full before distributions to creditors in Classes Three, Four,
L.B.F. 3015-1.1 (12/17)                                                                                                   Page 7
         Case:18-10276-KHT Doc#:21 Filed:03/29/18                     Entered:03/29/18 12:45:58 Page8 of 9


               and Five (strike any portion of this sentence which is not applicable). The amounts to be paid to the Class
               Three creditors shall be paid in full before distributions to creditors in Classes Four and Five. Distributions
               under the plan to unsecured creditors will only be made to creditors whose claims are allowed and are timely
               filed pursuant to Fed. R. Bankr. P. 3002 and 3004 and after payments are made to Classes One, Two A, Two
               B, Two C and Three above in the manner specified in Parts 5, 6, 7, and 8.1.

          B. ☐ Distributions to classes of creditors shall be in accordance with the order set forth above, except:
             _____________________________________________________________________________________
             [exceptions].

10.4      Motions to Avoid Liens under 11 U.S.C. § 522(f): In accordance with Fed. R. Bankr. P. 4003(d), the debtor
          intends to file or has filed, by separate motion served in accordance with Fed. R. Bankr. P. 7004, a motion to avoid
          lien pursuant to 11 U.S.C. § 522(f) as to the secured creditors listed in Part 1.4 and below:

                      Creditor                   Description of collateral           Date motion to         Date of order
                                               (pursuant to L.B.R 4003-2)            avoid lien filed     granting motion or
                                                                                                               pending
           NONE


10.5      Student Loans:

          ☒ No student loans

          OR

          ☐ Student loans are to be treated as an unsecured Class Four claim or as follows:
          _____________________________________________________________________________________
          [describe].

10.6      Restitution:

          ☒ No restitution

          OR

          ☐ The debtor owes restitution in the total amount of $_____ [amount], which is paid directly to
                 [name/description] in the amount of $_____ [amount] per month for a period of _____ [#] months; or as
                 follows:
                 ____________________________________________________________________________________
                 [describe].

10.7      Reinvestment of Property in debtor: All property of the estate shall vest in the debtor at the time of confirmation
          of this Plan.

10.8      Insurance: Insurance in an amount to protect liens of creditors holding secured claims is currently in effect and will
          ☒ will not ☐ [check one] be obtained and kept in force through the period of the Plan.

             Creditor to whom this        Collateral covered          Coverage amount             Insurance company, policy
                    Applies                                                                        number, and agent name,
                                                                                                    address and telephone
                                                                                                           number



          Applicable policies will be endorsed to provide a clause making the applicable creditor a loss payee of the policy.



L.B.F. 3015-1.1 (12/17)                                                                                               Page 8
         Case:18-10276-KHT Doc#:21 Filed:03/29/18                     Entered:03/29/18 12:45:58 Page9 of 9




 Part 11 Presumptively Reasonable Fee

The following election is made:

☐ Counsel elects the Presumptively Reasonable Fee pursuant to L.B.R. 2016-3(a). Any objection to the allowance of
the Presumptively Reasonable Fee must be made by the objection deadline to confirmation.

OR

☒ Counsel elects to file the Long Form Fee Application pursuant to L.B.R. 2016-3(b).

 Part 12 Nonstandard Plan Provisions

Under Bankruptcy Rule 3015.1(e), nonstandard provisions must be set forth below. A nonstandard provision is a provision
not otherwise included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are
void.

☒ None

OR

☐ The following plan provisions will be effective only if there is a check in the box “included” in Part 1.2

 Part 13 Signature of Debtor’s Attorney or Debtor (if unrepresented)

I certify that the wording and order of the provisions in this Chapter 13 Plan are identical to those contained in the Official
Form 3015-1.1, and that the plan contains no nonstandard provisions other than those set out in Part 12.


Dated: ___3/29/2018________                                         By: _/s/ Andrew S. Trexler_____________
                                                                        Signature
                                                                    Bar Number (if applicable): CO 39089
                                                                    Mailing Address: 7887 E. Belleview Ave., Suite 1100
                                                                                     Englewood, CO 80111
                                                                    Telephone number: (303)228-2257
                                                                    Facsimile number: (303)228-2297
                                                                    E-mail address: andrew@trexlerlegal.com




 Part 14 Verification of Debtor

I declare under penalty of perjury that the foregoing is true and correct.

Dated: ____3/29/2018___________                                     By: ___/s/ Ronald Cain__________________
                                                                        Signature of debtor

                                                                    Mailing Address: _215 Saddle Drive
                                                                                    Idaho Springs, CO 80452___
                                                                    Telephone number: __attorney #________
                                                                    Facsimile number: __attorney #________
                                                                    E-mail address: ____attorney e-mail_____



L.B.F. 3015-1.1 (12/17)                                                                                                 Page 9
